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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION
  __________________________________________
                                             )
  UNITED STATES OF AMERICA,                  )
  ex rel. JON H. OBERG,                      )
                                             )
           Plaintiff,                        )
                                             ) CIVIL NO. 1:07-CV-960-CMH-JFA
  v.                                         )
                                             )
  PENNSYLVANIA HIGHER EDUCATION              )
  ASSISTANCE AGENCY,                         )
                                             )
           Defendant.                        )
  __________________________________________)

                                       NOTICE OF APPEAL

         PLEASE TAKE NOTICE that Relator Jon H. Oberg in the above-captioned case hereby

  appeals to the United States Court of Appeals for the Fourth Circuit from the Final Order dated

  December 5, 2017 (Dkt. 976), entering judgment in favor of the Defendant, the Pennsylvania

  Higher Education Assistance Agency, including all adverse orders, rulings, decrees, decisions,

  opinions, memoranda, conclusions, or findings preceding, leading to, merged in, subsumed in,

  impacting within, identified within, or included within that Final Order.

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                                           Respectfully submitted,

                                            /s/ Stephen J. Obermeier
                                           Bert W. Rein (admitted pro hac vice)
                                           Michael L. Sturm (VSB # 27533)
                                           Christopher M. Mills (VSB # 44358)
                                           Stephen J. Obermeier (VSB # 89849)
                                           WILEY REIN LLP
                                           1776 K Street, NW
                                           Washington, D.C. 20006
                                           Phone: 202.719.7000
                                           Fax: 202.719.7049
                                           brein@wileyrein.com
                                           msturm@wileyrein.com
                                           cmills@wileyrein.com
                                           sobermeier@wileyrein.com

  January 4, 2018                          Counsel for Relator Jon H. Oberg




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 4th day of January, 2018, a true and correct copy of the
  foregoing was electronically filed with the Clerk of Court using the CM/ECF system, which will
  then send a notification of such filing (NEF) to the following:


   Daniel B. Huyett, Esq.                                         Edwin John U, Esq.
   Stevens & Lee P.C.                                             Michael A. Glick, Esq.
   111 North Sixth Street                                         Judson Brown, Esq.
   Reading, PA 19601                                              Thomas P. Weir, Esq.
                                                                  Tracie L. Bryant, Esq.
   Neil C. Schur, Esq.                                            Terence J. McCarrick, Esq.
   Stevens & Lee P.C.                                             Kirkland & Ellis LLP
   1818 Market Street, 29th Floor                                 655 Fifteenth Street, NW
   Philadelphia, PA 19103                                         Washington, D.C. 20005-5793
                                                                  United States
   Craig C. Reilly, Esq.
   The Office of Craig C. Reilly                                  Matthew T. Regan, Esq.
   111 Oronoco Street                                             Kirkland & Ellis LLP
   Alexandria, VA 22314                                           300 North LaSalle
                                                                  Chicago, IL 60654
   Counsel for Pennsylvania
   Higher Education Assistance
   Agency

   Gerard Mene, Esq.
   Assistant United States Attorney
   2100 Jamieson Ave
   Alexandria, VA 22314
   Counsel for the United States



                                                     /s/ Stephen J. Obermeier
                                                    Stephen J. Obermeier (VSB # 89849)
                                                    WILEY REIN LLP
                                                    1776 K Street, NW
                                                    Washington, DC 20006
                                                    Phone: 202.719.7465
                                                    Fax: 202.719.7049
                                                    sobermeier@wileyrein.com
                                                    Counsel for Relator Jon H. Oberg
